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05
                               UNITED STATES DISTRICT COURT
06                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
07
     UNITED STATES OF AMERICA,            )
08                                        )
           Plaintiff,                     )
09                                        )             Case No. CR08-336-JCC
           v.                             )
10                                        )
     TUYET THU THI VO,                    )             DETENTION ORDER
11                                        )
           Defendant.                     )
12   ____________________________________ )

13 Offenses charged:

14          Count 1:        Conspiracy to Manufacture Marijuana, in violation of 21 U.S.C. §§
                            841(a)(1) and 841(b)(1)(A) and 846.
15
            Count 5:        Manufacture of Marijuana, in violation of 21 U.S.C. §§ 841(a)(1) and
16                          841(b)(1)(B) and 18 U.S.C. § 2.

17          County 6:       Manufacture of Marijuana, in violation of 21 U.S.C. §§ 841(a)(1) and
                            841(b)(1)(B) and 18 U.S.C. § 2.
18
     Date of Detention Hearing:    October 24, 2008
19
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
20
     based upon the factual findings and statement of reasons for detention hereafter set forth,
21
     finds the following:
22
     FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
23
            (1)     Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that
24
     defendant is a flight risk and a danger to the community based on the nature of the pending
25
     charges. Application of the presumption is appropriate in this case.
26

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01          (2)     Defendant is a citizen of Vietnam. She continues to have strong family ties to

02 Vietnam.

03          (3)     Defendant has no real ties in the Western District of Washington or to this

04 community.

05          (4)     The weight of the evidence against the Defendant is strong.

06          (5)     There are no conditions or combination of conditions other than detention that

07 will reasonably assure the appearance of defendant as required.

08          IT IS THEREFORE ORDERED:

09          (1)     Defendant shall be detained pending trial and committed to the custody of the

10 Attorney General for confinement in a correctional facility separate, to the extent practicable,

11 from persons awaiting or serving sentences or being held in custody pending appeal;

12          (2)     Defendant shall be afforded reasonable opportunity for private consultation

13 with counsel;

14          (3)     On order of a court of the United States or on request of an attorney for the

15 government, the person in charge of the corrections facility in which defendant is confined

16 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

17 connection with a court proceeding; and

18          (4)     The Clerk shall direct copies of this Order to counsel for the United States, to

19 counsel for the defendant, to the United States Marshal, and to the United States Pretrial

20 Services Officer.

21                  DATED this 24th day of October, 2008.

22

23
                                                          A
                                                          JAMES P. DONOHUE
                                                          United States Magistrate Judge
24

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     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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